Case 2:05-cV-02487-.]DB-tmp Document 3 Filed 07/26/05 Page 1 of 4 Page|D 1

men sav 334an

IN THE UNITED sTATEs DISTRICT cOURT "‘~ "~
FOR THE wESTERN DISTRICT OF TENNESSEE

wESTERN DIvIsION 05 JUL 25 PH 1325

m MMM/i£ M GOUI D
alma Ut£

m z

 
  

 

JEROME MILLER ,
Plaintiff,
vs.

NO. 05-2487-B/P

FEDERAL EXPRESS CORPORATION,
et al.,

Defendants.

>-<>-<>-<>-<><><>'<><>'<>'<>-<><

 

ORDER GRANTING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL AS MOOT
ORDER OF DISMISSAL WITHOUT PREJUDICE
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

On April 28, 2005, plaintiff Jerome Miller filed a pro §§
complaint asserting claims pursuant to Title VII of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e et seg., and for malicious

harassment in violation of Tenn. Code Ann. § 4-21-701, against

 

Federal Express Corporation, Craig Vogelsang, and Chris
Marchlewski. Miller also filed motions to proceed i_ forma
pauperis and for appointment of counsel. The complaint was

docketed as Miller v. Federal Express Corp., et al., No. 05-2312-
M/P and assigned to United States District Judge Samuel H. Mays,
Jr. On July 13, 2005, Judge Mays entered an order granting the
motion to proceed in §Q;m§ pauperis, denying the motion for

compliance

This document entered on the docket S`neet in v
/
with F\ule 58 and/or 79(3) FF\CF’ on '1 3 '2 05 @

Case 2:05-cV-02487-.]DB-tmp Document 3 Filed 07/26/05 Page 2 of 4 Page|D 2

appointment of counsel, dismissing plaintiff's claims against
individual defendants Vogelsang and Marchlewski, and directing that
service issue against defendant Federal Express Corporation.

On July ll, 2005, plaintiff filed the present employment
discrimination complaint against Federal Express Corporation,
Vogelsang, and Marchlewski, along with motions to proceed ip §Q;ma
pauperis and for appointment of counsel. Based on the information
set forth in the plaintiff's affidavit, the motion to proceed ip
fp;ma pauperis is GRANTED. The Clerk shall record the defendants
as Federal Express Corporation, Craig Vogelsang, and Chris
Marchlewski.

The Court’s review of the complaint reveals that it is, word
for word and page for page, identical to the complaint pending
before Judge Mays. Judge Mays has previously considered and denied
plaintiff's motion for appointment of counsel. Accordingly, the
motion for appointment of counsel is denied as MOOT. Judge Mays is
considering plaintiff's claims under docket number 05-2312-Ma/P.
This case is duplicative and is therefore DISMISSED without
prejudice.

The Clerk is directed to close this case and to file no
further documents under this docket number. All pleadings
pertaining to Miller’s discrimination claim shall be filed under
docket no. 05*2312-Ma/P.

As this dismissal is without prejudice, and as plaintiff's
claims are being fully considered in case number 05-2312-Ma/P,

2

Case 2:05-cV-02487-.]DB-tmp Document 3 Filed 07/26/05 Page 3 of 4 Page|D 3

there is no basis for an appeal. The Court certifies, pursuant to

28 U.S C. § 1915(a)(3), that any appeal is not taken in good faith

and plaintiff may not proceed ip forma pauperis on appeal.

IT Is so 0RDERED this 'Z`§ day of July, 2005.

/

. D IEL BREEN
IT D STATES DIS'I‘RICT JUDGE

 

SDlSTRlCT C URT - WESTRNE llSRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02487 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

Jerome Miller
3071 DeWitt Cove
i\/lemphis7 TN 38118

Honorable J. Breen
US DISTRICT COURT

